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                 5                                   UNITED STATES DISTRICT COURT
                 6                                          DISTRICT OF NEVADA
                 7                                                      ***
                 8       UNITED STATES OF AMERICA,                              Case No. 2:12-CR-463 JCM (VCF)
                 9                                              Plaintiff(s),                      ORDER
               10               v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                             Defendant(s).
               13
               14              Presently before the court is the matter of USA v. Williams et al, case number 2:12-cr-
               15       00463-JCM-VCF.
               16              On July 19, 2018, defendant Frederick Williams filed a motion for return of property. (ECF
               17       No. 927). The government has not filed a response.
               18              Briefing shall proceed as follows: the government has fourteen (14) days from the date of
               19       this order to file a response. Thereafter, defendant has seven (7) days to file a reply.
               20              Accordingly,
               21              IT IS HEREBY ORDERED that the government shall file a response to defendant’s motion
               22       for return of property (ECF No. 927) no later than fourteen (14) days from the date of this order.
               23       Defendant shall file a reply within seven (7) days thereafter.
               24              DATED November 1, 2018.
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               27                                                      UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
